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                EXHIBIT O
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       CONFIDENTIAL BUSINESS INFORMATION SUBJECT TO PROTECTIVE ORDER


                                                                       Page 1

 1          UNITED STATES INTERNATIONAL TRADE COMMISSION
 2                             WASHINGTON, D.C.
 3            Before The Honorable Charles E. Bullock
 4                  Chief Administrative Law Judge
 5
 6    In the Matter of                        ) Inv. No. 337-TA-1191
      CERTAIN AUDIO PLAYERS AND               )
 7    CONTROLLERS, COMPONENTS                 )
      THEREOF, AND PRODUCTS                   )
 8    CONTAINING SAME                         )
      ------------------------------)
 9
10       *** HIGHLY CONFIDENTIAL BUSINESS INFORMATION ***
11              *** SUBJECT TO PROTECTIVE ORDER ***
12                                    - - -
13      ** CONFIDENTIAL SOURCE CODE, ATTORNEYS' EYES ONLY
14                              INFORMATION **
15
16                          THURSDAY, OCTOBER 1, 2020
17                                    - - -
18          REMOTE ZOOM Deposition of GOOGLE, LLC, by and
19    through its designee, KEN MACKAY, beginning at
20    9:05 a.m., before Nancy J. Martin, a Registered Merit
21    Reporter, Certified Shorthand Reporter.
22

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                                                                              Page 66                                                                         Page 68
 1 have been saying about you," and then there's a              10:43:26                 1 Google's Cast enabled media players are sold, is the         10:45:43
 2 sentence in italics. Is that what you mean?            10:43:28                       2 program code that's responsible for the multiroom            10:45:50
 3 BY MR. SHEA:                                      10:43:31                            3 functionality already loaded onto those players?            10:45:53
 4     Q. Yeah. Can you tell me what that says?            10:43:31                      4       MS. DUCCA: Objection. Vague.                       10:46:02
 5     A. It says, "Ken single handedly implemented a           10:43:33                 5       THE WITNESS: So there is already code loaded             10:46:12
 6 new multiroom sync technology for Hendrix that has              10:43:35              6 onto those players that supports multiroom features.         10:46:22
 7 brought us up to par with existing and well             10:43:39                      7 BY MR. SHEA:                                     10:46:40
 8 established multiroom implementations in the market,            10:43:42              8     Q. When you say, "multiroom features," would             10:46:40
 9 such as Sonos and Dennon and won great acclaim among               10:43:43           9 that include casting to a group of multiroom players         10:46:42
10 the tech press and audiophiles."                    10:43:47                         10 the same audio?                               10:46:50
11     Q. Do you remember that, that kind of being the          10:43:49                11       MS. DUCCA: Objection. Vague.                       10:46:55
12 reasoning for the spot bonus? Do you have any                10:43:56                12       THE WITNESS: So the -- I don't think there            10:47:03
13 recollection of that, I guess I'm asking?             10:43:58                       13 would ever be a case where you would be able to use           10:47:05
14     A. So I can't say that that's the reasoning       10:44:00                       14 the code that's already loaded onto those players to        10:47:12
15 behind the spot bonus. That's just the message that          10:44:04                15 cast to a group.                            10:47:14
16 was attached to the bonus.                        10:44:12                           16 BY MR. SHEA:                                     10:47:18
17     Q. I see. I see. Do you know who prepared that           10:44:13                17     Q. And why -- sorry. Why is that?                   10:47:18
18 message that was attached to the bonus?                 10:44:15                     18     A. Because during the setup process of a new            10:47:22
19       MS. DUCCA: Objection. Outside the scope.                10:44:17               19 device, we automatically download new code and load it             10:47:28
20 Calls for speculation.                        10:44:19                               20 onto the device before a user can use it.               10:47:35
21       THE WITNESS: I don't know.                       10:44:23                      21     Q. Okay. Okay. So setting that aside -- and I         10:47:40
22 BY MR. SHEA:                                      10:44:24                           22 understand there's the issue of the download of the         10:47:45

                                                                              Page 67                                                                         Page 69
 1     Q. And do you have any understanding of -- well,                    10:44:24      1 new code, but is the code that's loaded on those           10:47:47
 2 do you recall what the amount of the spot bonus was?                     10:44:32     2 players prior to that functional code when it comes to       10:47:52
 3        MS. DUCCA: Objection. Outside the scope.                         10:44:35      3 multiroom audio?                               10:47:56
 4        THE WITNESS: I don't recall exactly.                       10:44:40            4       MS. DUCCA: Objection. Vague.                       10:47:59
 5 BY MR. SHEA:                                            10:44:42                      5       THE WITNESS: What do you mean by                       10:48:07
 6     Q. Okay. Do you have any recollection or                       10:44:42           6 "functional"?                               10:48:10
 7 understanding of how that -- the amount of that spot                    10:44:43      7 BY MR. SHEA:                                     10:48:11
 8 bonus compares to other spot bonuses that are given                      10:44:48     8     Q. Does it -- well, yeah. Maybe let me do it          10:48:11
 9 out by Google?                                       10:44:52                         9 this way: Is the code that's on those players code         10:48:13
10        MS. DUCCA: Objection. Outside the scope.                         10:44:53     10 that has been compiled from source code that has been          10:48:18
11 Calls for speculation.                                10:44:55                       11 written for handling the multiroom audio features?           10:48:25
12        THE WITNESS: So I don't have any knowledge                          10:44:56 12      A. Yes. Well, to clarify it, among lots of          10:48:31
13 about the range of spot bonus amounts across Google.                      10:44:58   13 other code.                                 10:48:40
14 BY MR. SHEA:                                            10:45:05                     14     Q. Yes. Sorry. And I didn't mean to suggest to         10:48:42
15     Q. Okay. So you don't know kind of where it                     10:45:05         15 the contrary. Of course, there's other code as well,       10:48:45
16 fit? You don't know what yours was vis-a-vis other                      10:45:06     16 but is it the case that it would be the same with         10:48:48
17 ones necessarily?                                    10:45:13                        17 respect to the multizone audio functionality and the        10:48:55
18     A. Right. I have no basis of comparison.                     10:45:14            18 code that's related to that, in particular, would the     10:48:59
19     Q. Okay. That's fine. We can put that away,                    10:45:17          19 version of software that's loaded onto the players at       10:49:04
20 then. So now we're going to shift gears and maybe                       10:45:23     20 the time that they're sold be compiled from the same         10:49:09
21 move away from some of those types of topics.                           10:45:30     21 code base as the version that ultimately gets updated        10:49:13
22        And just to be clear, do you know when                     10:45:37           22 onto the player?                             10:49:18

                                                                                                                                       18 (Pages 66 - 69)
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                                                                      Page 70                                                                           Page 72
 1       MS. DUCCA: Objection. Vague and ambiguous.                   10:49:20    1 kind of a -- it may not be the right term, but like        10:52:28
 2       THE WITNESS: I guess it would depend on what                 10:49:22    2 the make file or some process by which the actual               10:52:32
 3 you mean by the "same code base."                        10:49:27              3 decision is made as to which source code is compiled             10:52:36
 4 BY MR. SHEA:                                    10:49:29                       4 into the binary code that gets loaded?                   10:52:39
 5     Q. Well, let me ask you, what do you understand          10:49:29          5        MS. DUCCA: Objection. Vague.                       10:52:44
 6 the "same code base" to mean?                         10:49:34                 6        THE WITNESS: So the build process is                   10:52:53
 7     A. The exact, same code.                      10:49:43                     7 responsible for determining which code is compiled for            10:52:58
 8     Q. I see. Okay. Yeah. What I was trying to            10:49:45             8 the build target.                            10:53:01
 9 get at is how would you refer to code that is -- it's     10:49:47             9 BY MR. SHEA:                                        10:53:04
10 different versions of the same evolutions of the same,       10:49:54         10     Q. Okay. When you say you would have to look at               10:53:04
11 common code?                                   10:49:57                       11 the code to know for sure, then are you saying you              10:53:09
12     A. I guess I'm not sure that I would have a term       10:50:09           12 would have to look at the code for the build process            10:53:11
13 for that specifically, but I mean that phrase is fine,    10:50:14            13 to understand what decisions it's making on a                 10:53:15
14 I suppose.                                 10:50:17                           14 target-by-target basis?                            10:53:17
15     Q. Okay. And maybe I can just short circuit it.        10:50:22           15        MS. DUCCA: Objection. Mischaracterizes.                  10:53:19
16 I mean I guess what I'm just trying to get at is is it    10:50:24            16        THE WITNESS: It would depend on specifically               10:53:25
17 the case that the code that's loaded onto the players       10:50:27          17 which code you're interested in.                      10:53:26
18 at the time they're sold is compiled from one version        10:50:32         18 BY MR. SHEA:                                        10:53:33
19 or snapshot of the source code related the multiroom          10:50:38        19     Q. Okay. So we're going to get into more               10:53:33
20 audio features, and then the update is perhaps             10:50:41           20 details in a little bit on the code, but I guess         10:53:37
21 compiled from just a later update -- or version of         10:50:46           21 generally, what I'm most curious about right now is             10:53:39
22 that same source code?                           10:50:52                     22 the code that relates to the multiroom audio               10:53:41

                                                                      Page 71                                                                           Page 73
 1     A. Yes. That's fair.                      10:50:56                         1 functionality of the products.                       10:53:44
 2     Q. Is -- from a program code perspective, are          10:51:04            2     A. Okay. It's a little unclear how broad             10:53:47
 3 there any differences in what gets loaded -- sorry.        10:51:09            3 "relates to" is, I guess.                      10:53:54
 4 Let me start over because I wanted to add one more            10:51:14         4     Q. I see. Okay. That's okay. So basically,            10:53:56
 5 thing to that.                             10:51:16                            5 without kind of having some bounds on what specific               10:54:06
 6       So talking specifically about the multiroom         10:51:20             6 directories or the like that we're talking about, it's    10:54:11
 7 audio part of the software, from a program code             10:51:24           7 difficult for you to tell how -- which code gets           10:54:14
 8 perspective, are there differences in the program code       10:51:27          8 compiled and loaded onto which player. Is that a fair           10:54:19
 9 that gets loaded onto the different types of Google         10:51:30           9 characterization?                              10:54:23
10 Cast enabled media players that are sold?                 10:51:36            10     A. Right. Yes. Sorry.                          10:54:24
11       MS. DUCCA: Objection. Vague.                        10:51:40            11     Q. No. Go ahead.                               10:54:26
12       THE WITNESS: So I think I'd have to look at            10:51:46         12     A. So if you had a question about a specific           10:54:28
13 the source code to be absolutely sure about that.          10:51:47           13 piece of code, then it would be fairly straightforward          10:54:31
14 BY MR. SHEA:                                    10:51:52                      14 for me to be able to tell whether or not it's loaded          10:54:34
15     Q. Okay. And when you say, "look at the source           10:51:52         15 onto a given device given the source code.                 10:54:38
16 code," what part of the source code would you look at         10:51:54        16        MR. SHEA: I see. Okay. Well, maybe what we                10:54:43
17 to know which -- you know, which program code is                 10:51:58 17 can do is as we're going through some of the more                   10:54:44
18 getting loaded onto which player?                       10:52:03              18 specific pieces of the process, which we're going to           10:54:46
19     A. Well, there are several different ways by          10:52:08            19 get into here in a little bit, I can maybe ask some of        10:54:49
20 which code can be built in or not built in depending         10:52:16         20 those questions along the way if it makes sense.              10:54:52
21 on the target device.                          10:52:20                       21        So one last thing before we do dive into the        10:54:57
22     Q. Okay. And is that all handled as part of          10:52:23             22 functional operation is I wanted to ask you about              10:55:01

                                                                                                                                 19 (Pages 70 - 73)
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